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 Exhibit A




                              Exhibit A
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                                                                           Service of Process
                                                                           Transmittal
                                                                           08/23/2018
                                                                           CT Log Number 533934968
    TO:     Dawn Call
            Management & Training Corporation
            500 North Marketplace Drive
            Centerville, UT 84014-

    RE:     Process Served in California

    FOR:    Management & Training Corporation  (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                 JOSUE MENDOZA, ETC., PLTF. vs. MANAGEMENT AND TRAINING CORPORATION, ET
                                     AL., DFTS.
    DOCUMENT(S) SERVED:              SUMMONS, COMPALINT, ATTACHMENT(S)
    COURT/AGENCY:                    San Diego County - Superior Court - Central Division, CA
                                     Case # 37201800038572CUOECTL
    NATURE OF ACTION:                Employee Litigation - COMPLAINT FOR DAMAGES
    ON WHOM PROCESS WAS SERVED:      C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:        By Process Server on 08/23/2018 at 15:29
    JURISDICTION SERVED :            California
    APPEARANCE OR ANSWER DUE:        WITHIN 30 CALENDAR DAYS AFTER THIS SUMMONS AND LEGAL PAPERS ARE SERVED ON
                                     YOU
    ATTORNEY(S) / SENDER(S):         THOEDORE R. TANG
                                     FRONTIER LAW CENTER
                                     6320 CANOGA AVENUE, SUITE 1500
                                     WOODLAND HILLS, CA 91367
                                     818-924-3103
    ACTION ITEMS:                    CT has retained the current log, Retain Date: 08/25/2018, Expected Purge Date:
                                     08/30/2018

                                     Image SOP

                                     Email Notification,  Dawn Call  dcall@mtctrains.com

                                     Email Notification,  Lisa Rich  lisa.rich@mtctrains.com

                                     Email Notification,  Mary Barnes  Mary.Barnes@mtctrains.com

    SIGNED:                          C T Corporation System
    ADDRESS:                         818 West Seventh Street
                                     Los Angeles, CA 90017
    TELEPHONE:                       213-337-4615




                                                                           Page 1 of  1 / SV
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
                                                                   //c9
Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.15 Page 3 of 26 EI



                                           SUMMONS                                                      I                 FOR COURT USE 0725?
                                                                                                                      (SOLO PAPA USO 02 LA COR7
                                 (CI TA CION JUDICIAL)                                                  I     ELECTRONICALLY FILED
NOTICE TO DEFENDANT:                                                                                           Superior Court of California,
(AWSO.4L DEMANDADO):                                                                                    I         County of San Diego
 Management and Training Corporation, and Does ito 100, inclusive                                       I        0810112018 at 11:48:43 tivl
                                                                                                                 Clerk of the Superior Court
YOU ARE BEING SUED BY PLAINTIFF:                                                                                 By Gen Dieu.Deputy Clerk
'LQ ESTA DEMANDANDO EL DEMANDANTEI:
                                                                                                        I
 Josue Mendoza, on behalf of himself and a class of similarly situated                                  I
 individuals, and the general public                                                                    I
 NOTICE] You have been sued. The court may dedde against you without your being heard unless you respond withIn 30 days. Read the informatIon
  below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  use. There may boa court form that you can use for your response. You can find these court farms and more Information at the California Courts
  Online Soil-Help Center (w'mv.courlinfo.cagovlsellhclp), your county law library. or the courthouse nearest you. If you cannot pay the filing tee, ask
  the court Clerk for a foe waiver (aim. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to coil an attorney
  referral sorvice. If you cannot afford an attorney, you may be eligible for free legal sorvices from a nonprofit legal services program. You can bouts
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifwnie.org), the California Courts Online Self-Help Center
  (wiswcouninfAca.govlselfhalp), or by contacting your locol court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil was. The court's lien must be paid before the court will dismiss the case.
 :AVISOI La hart demendado. Si no reap ande denim do 30 dIes, Is carte puede des/dir-en su comm sin escu char Sri vemian. Lea Is infornjociOn a
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  frww.iawhetpcaiifarria.oraj, an at Centre do Ayuda doles Cones do Celifornia, (vnaw.sucorte.Ca.gov) 0 ponléndoas an contocle can Is caste 001
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The name and address or the court is:
(El nombre y dire colon do to code as):                                                                                        37-2018-00038572-CU- 0E-CTL

San Diego County Superior Court, 330 West Broadway, San Diego, CA
92101
The name. address, and telephone number of plaintiffs attorney, or plaintiff without an attorney,              is:                                                 1
(El no,rnbre. to direction y of nOmare do topdfono dcl abogado dci demons/ante, ode! damendanlo quo no Ilene aboge4o, as):
 Frontier Law Center, 23901 Calabasas Road, STE #2074, Calabasas, CA, 91302, (81 8) 914-3433

DATE: 0812t2018                                                               Clerk, by                                                             Deputy
(Fecha)                                                                       (Sgcretario)                           G. oieu

                  enlrega do esle citatiOn use at formularia Proof of Service of Summons, (POS-010
                                  NOTICE TO THE PERSON SERVED: You are served
                  sir 1.          1.       =j
                                            as an individual defendant.
                                  2.       (as the person sued under the fictitious name of (specify):


                                       .
                                           1299   on behalf of (specify): Management and Training Corporation

                                           under      CCP 416.10 (corporation)                (fli                   CCP 416.60 (minor)
                                                   E1 CCP 416.20 (defunct corooration)        flJ                    CCP 416.70 (conservatee)
                                                   [] CCP 416.40 (association or partnership) CJ                     CCP 416.90 (authorized person)
                                                   tj other (specify):
                                       .   c:j by personal delivery on (date):                                                                       Pae. I ol I
FonnAdrt,dlc,Mw,daloryUe                                               SUMMONS                                                   Otxleofad lkaizo § 412 20.466
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Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.16 Page 4 of 26



        Theodore R. Tang (313294)                                  ELECTRONICALLY FILED
   1    theodorcø)fronticrlawcenter.corn                            Superior Couit of California.
        Adam M. Rose (210880)                                          County of San Oiego
   2    adani(ajfronticrlawcenter.com                                08101/2018 at 11:46:43 ftivl
        Emanuel Starr (319778)                                       Clerk of the Superior Court
   3    MannycWfrontierlawcenter.com                                 By Gen Oieu.Oeputy Clerk
        FRONTIER LAW CENTER
   4    23901 Calabasas Road. STE #2074
        Calabasas, CA 91302
   S    Telephone: (818) 914-3433
        Facsimile: (818) 914-3433
   6
        Stephen M. Harris (110625)
   7    stephenø)smh-lcgal.com
        LAW OFFICE OF STEPHEN M. HARRIS, P.C.
   8    6320 Canoga Avenue, Suite 1500
        Woodland Hills, CA 91367
   9    Telephone: (81.8) 924-3103
        Facsimile: (818) 924-3079
  10
        Attorneys for Plaintiff
  11    Josue Mendoza, on behalf of himself and all others
        similarly situated, and the general public
  12
  13                                 SUPERIOR COURT OF CALIFORNIA
  14'                                    COUNTY OF SAN DIEGO

  15
     JOSUE MENDOZA, on behalf of himself and a               NO.    37-20 18-00038572-CU-OE-CTL
  16 class of similarly situated individuals, and the
     general public,                                         CLASS ACTION
  17
                     Plaintiff,                              CO1SWLAJNT FOR DAMAGES FOR:
  18
              V.                                               Violation of B&PC §17200, et seq.;
  19                                                           Failure to Pay All Wages (Labor Code
     MANAGEMENT AND TRATN'INO                                §200, et seq., 218,226,510,51.J,l.194, and
  20 CORPORATION, and DOES 1 to 100, inclusive,              2802);
                                                               Unpaid Wages Due to Rounding (Labor
  21                 Defendants.                             Code §§ 204, 218, 510,
                                                             1194,11.94.2,1197,1198);
  22                                                           Failure to Provide Meal Breaks Labor
                                                             Code §226.7 & 512, et seq.;
  23                                                           Failure to Provide Rest Periods (Labor     I
                                                             Code §226.7 & 512);
  24                                                           Inaccurate Wage Statements Labor
                                                             Code §226;
  25
  26
  27
  28
                                                     -1-
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              Plaintiff Jostie Mendoza on behalf of himself and all other persons similarly situated, and

   2 the general public, hereby complains against Management and Training Corporation ("MTC" or

   3 "Defendant"), and DOES 1 to 100, inclusive, allege as follows:

   4                                                                                    -




   S                                      GENERAL ALLEGATIONS

   6                                             JURJSDICTION

   7 1.       This is a civil action seeking recovery of unpaid wages under California Labor Code §*
                                                      1194, 1194.2, 1197, and 1198. The Plaintiff for
   8 200, ct seq., 204, 218, 226,226.7, 510, 511, 512,1194,1194.2,

   9 himself and on behalf of the general public, and all others, similarly situated, brings an action for

  10 monetary damages for fiuilure to pay wages as well as for injunctive relief, declaratory relief and
  11 restitution for Defendant's violation of Business and Professions Code ffl&PC) §17200, et seq.,
  1.2 including full restitution of all compensation retained by Defendant, as a result of its unlawful,

  13 fraudulent and unfiuir business practices. Plaintiff seeks all available relief, including fbll damages,
  14 full restitution and/or disgorgement of all revenues, earnings, profits, compensation and benefits

  1.5 retained by Defendant as a result of its unlawful, unfair business practices. Further, Plaintiffs seek
  16 injunctive relief under B&PC §17200, et seq.
  17                                                 VENUE                                          -




  18 2.       Venue as to the Defendant is proper in this judicial district pursuant to California Code of

  19 Civil l'roceclure (CCP) §§ 395(a), as Defendant is a foreign corporation that has not designated a
  20 principal office, location, or address in the State of California. As Defendant does not have a

  21 designated office in the State, venue is appropriate in any County in the State of California.

  22                                                PARTIES

  23 3.       Josue Mendoza is an individual over the age of eighteen (18). At all relevant times herein,

  24 Mendoza was and currently is a resident of the County of Imperial, State of Cahfonua.
  25 4.       Plaintiffs are infoimed and believe and thereon alleges that at all times mentioned herein,

  26 Defendant, Management and Training Corporation (hereinafter referred to as "MTC" or

  27 "Defendant"), is and was a Delaware corporation.

  28 5.       Plaintiffs urn informed and believe and thereon alleges that at all times mentioned herein,
                                 -                     -2-
                                                    COMPLAINT




                                                                            4      -.       .....
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   I Defendant and Does 1 -lOU, are professional entities licensed to do business in California.
                                                                                                              I.


   2 6.        Plaintiffs are informed and believe and thereon alleges that at all relevant times Defendant

   3 was licensed to do business in the State of California, County of Imperial, with its principal place
   4 of business in Centerville, Utah.

   5 7.        Plaintiff is informed and believes and based thereon alleges, that MTC is an entity licensed

   6 in the state of California, is a Delaware corporation, that owns, operates and/or controls all other

   7 Defendants and are and were the employer of the Plaintiff. During the liability period, Defendant

   8 employed Plaintiff and, due to its failure to schedule Plaintiff in such a manner that allowed for

   9 Plaintiff to receive and/or take meal and/or rest breaks, Plaintiff was not provided and/or denied

  10 work free meal and rest breaks. Defendant also failed to pay Plaintiff for all time worked due to its

  II rounding practice, which systematically results in losses to Plaintiff, and failed to pay overtime for

  12 hours worked at the correct rate of pay. On information and belief and based thereon, Plaintiff

  13 alleges that Defendant is conducting business in good standing in California.

  14 8.        Plaintiff is informed and beLieve and thereon alleges, that Defendant and DOES Ito 100,

  15   1 control and operate business and establishments in locations within the State of California,
  16 including, but not limited to, the County of Imperial, for the purposes of providing detention pificer

  17 services. Thus, each named Defendant and DOES I to 100 are subject to 13&PC § 17200, et seq.

  18 (Unfhir Competition Law) and the Labor Code as hereinafter alleged.

  19 9.        Plaintiff does not know the true names or capacities, whether individual, partner or

  20 corporate, of Defendant sued herein as DOES Ito 100, inclusive, and for that reason, said

  21 Defendants are sued under such fictitious names, and Plaintiff will seek from this Court leave to

  22 amend this Complaint when such true 'names and capacities are discovered. Plaintiff is informed

  23 and believes and thereon alleges that each Defendant and each fictitious Defendant, whether

  24 individual, pairtndrs, or corporate, was responsible in some manner for the circumstances alleged

  25 herein, and proximately caused Plaintiff to be subjected to the unlawful employment practices,

  26 wrongs, injuries and damages complained of herein.

  27    tO.    At all times herein mentioned, each of said Defendants participated in the doing of the acts

  28 hereinafter alleged to have been done by the named Defendant; and furthermore, Defendants, and
                                                     -3-
                                                 COMI'LAINT
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    I each of them, were the agents, servants, and employees of each and every one of the other
   2 Defendants, as well as the agents of all Defendants, and at all times herein mentioned were acting

   3 within the course and scope of said agency and employment. Plaintiff herein alleges that Defendant

   4 and each of them arc the joint employer of Plaintiff.
   5 11.      At all times mentioned herein, Defendant, and each of them, were members of and engaged

   6 in ajoint venture, partnership, and common enterprise, and acting within the course and scope of

   7 and in pursuance olsaid joint venture, partnership, and common enterprise.

   8 12.      At all times herein mentioned, and the acts and omissions of various Defendants, and each
   9 of them, concurred and contributed to the varioW acts and omissions of each and every one of the
  10 other Defendants in proximately causing the complaints, injuries and damages alleged herein.

  11 13.      At all times herein mentioned, Defendant, and each of them, approved of, condoned, and/or

  12 otherwise ratified each and every one of the acts or omissions complained of herein. At all, times

  13 herein mentioned, Defendant, and each of them, aided and abetted the acts and omissions of each
  14 and every one of the other Defendants, thereby proximately causing the damages, as herein alleged.

  15 14.      Plaintiff has been employed with Defendants from appToximately September2014 through

  16 the present.
  17 15.     Plaintiff was required to carry a radio and remain on call throughout his entire shift,

  18 including during periods designated as "breaks".

  19 16.      Plaintiff is a non-exempt employee.

  20                           PLAJNTIFF AND CLASS REPRESENTATIVE

  21 17.     The class representative who worked in the position of non-exempt hourly detention officer

  22 employee, while employed by Defendant within the State of California, is Josue Mendoza.

  23                                  CLASS ACTiON ALLEGATIONS

  24 IS.      Plaintiff brings this action on behalf of himself and all others similarly situated as a class

  25 action pursuant to CCP §382. 'The Classes which Plaintiff seeks to represent are composed of and
  26 defined as follows:

  27          Class 1: All non-exempt hourly detention officer employees of Defendant who worked at

  29         any time during the time period from four (4) years preceding the filing of this Complaint
                                                     -4'.
                                                    COMPLAINT
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   1.        through the date of class certification order.

   2         Class 2:

   3         All California based non-exempt hourly employees of Defendant who worked at any time

   4         dwing the time period from one (1) year before the filing of this action through the date of

   5         class certification order, who were not provided an accurate paystub (a.k.a. wage statement)

   6         from Defendant ("Pay Stub Class");

   7

   8 19.     There are common questions of law and fact as to Plaintiff and all others similarly situated

   9 which predominate over questions affecting only individual members including, without limitation
  10 to:

  11                a. Whether Defendant violated the applicable Labor Code provisions including

  12                    §4510 and 1194 by requiring overtime work and not paying for said work

  13                    according to the overtime laws of the State of California;

  14                b. Whether Defendant failed to pay the appropriate straight time minlinuin wages,

  15                    and premium overtime compensation to the non-exempt hourly employees;

  16                c. Whether Defendant improperly retained, appropriated or deprived Plaintiff of

  17                    the use of monies or sums to which Plaintiff was legally entitled;

  18                d. Whether Defendant engaged in unfair business practices;

  19    .           e. Whether Defendants, and each of them, were participants in the alleged unlawful

  20                    conduct;

  21                .f. Whether Defendant's conduct was willful or reckless;

  22                g. The effect upon and the extent of injuries suffered by Plaintiff and all others

  23                    similarly situated and the appropriate amount of compensation;

  24                h. The appropriate amount o monetary penalties allowed by Labor Code §4201. et

  25                    seq. and 226;

  26                i. Whether Defendant violated Labor Code §226 and relevant IWC Wage Orders

  27                    by failing to, among other violations, accurately report total hours worked by

  28                    Plaintiff and the members of the PlaintifIclass;
                                                     -5-
                                                   COMPI.;AIN1'
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                      j. Whether Defendant knowingly and intentionally lailed to maintain records ror

   2                      Plaintiffs and members of the Plaintiff class as required by Labor Code § 1174

   3                      and §7 of the IWC 0rder4-2001;

   4                  k. Whether Defendant failed to provide regularly compliant meal periods; and

   5                  I. Whether Defendant failed to authorize and permit legally compliant rest breaks;

   6

   7 20.      Plaintiff's claims are typical of the claims of all members of the classes mentioned herein.

   8 Plaintiff, as a representative party, will fairly and adequately protect the interest or the classes by
   9 vigorously pursuing this suit through his attorneys who are skilled and experienced in handling

  10 matters of this type. Plaintiff has no claim or interest that is antagonistic to any class member.
  11 21.      The nature of this action and the nature of laws at issue make use of the class action format

  12 a particularly efficient and appropriate procedure to afford relief to Plaintiff for the wrongs alleged

   3 herein. Further, this claim involves a large corporate employer, i)efendant, and a large number of
  14 individual employees (Plaintiff and all others similarly situated) with many relatively small claims

  15 with common issues of law and fact. If each employee were required to file an individual lawsuit,
  16 the corporate Defendant would necessarily gain an unconscionable advantage since it would be

  17 able to exploit and ovenvhelm the limited resources of each individual Plaintiff with their vastly
  18 superior financial and legal resources. Requiring each class member to pursue an individual remedy

  .19 would also discourage the assertion of lawful claims by employees who would be disinclined to
  20 pursue an action against their present and/or former employer for an appreciable and justifiable fear

  21 olretaliation and permanent damage to their careers at present and/or subsequent employment.
  22 Proof of a common hiLciness practice or factual pattern, oCwhich the named Plaintiff experienced,
  23 1 is representative of the classes mentioped herein and will establish the right of each of the members

  24 of the named class to recovery under the causes of action alleged herein.
  25 22.      The prosecution of separate actions by the individual class iricinbers, even if possible,

  26 would create a substantial risk of (a) inconsistent or varying verdicts or adjudications with respect

  27 to the individual class members against Defendant herein which would establish potentially

  28 incompatible standards of conduct for Defendant; and/or (b) legal determinations with respect to
                                                   -6-
                                                         PLAI
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     I individual class members which would, asapractical matter, be dispositive of the interest of the

    2 other class members not parties to adjudications or which would substantially impair or impede the
    3 ability of the class members to protect their interests. Further, the claims of the individual members

    4 of the class are not sufficiently large to warrant vigorous individual prosecution considering all of

    S the concomitant costs and expenses.

    6 23.      Plaintiff and all others similarly situated are entitled tb the wages and other monies            £
    7 unlawfully withheld. This action is brought for the benefit of the public.

    8
    9                                     FIRST CAUSE OF ACTION

   10                                  UNFAIR BUSINESS PRACTICES
   11                                         (B&PC §17200, Ct seq.)

   1.2 24.     Plaintiff re-alleges and incorporates by reference herein the allegations of all preceding

   13 paragraphs as though fully set forth herein.
   14 25.      Beginning on an exact date unknown to Plaintiff but believed to have occurred at least since

   1.5 four (4) years before the filing of this action, Defendant has engaged in a pattern and practice of
   16 acts of unfair competition in violation of 13&PC §17200, including the practices alleged herein.

   17           FAILURE TO PAY PROPER WAGES AND OVERTIME COMPENSATION

   18 26.      Plaintiff is informed and believes and thereon alleges that as part of Defendant's ongoing

   19 unfair business practice, Defendant's employees were and are employed and scheduled as a matter

   20 of established company policy to work, and in ract worked, shifls in excess of eight (8) hours.
   21 Plaintiff and the members of the classes (the "Class") were frequently required to stay and work

   22 over their scheduled shift, working in excess of eight (8) hours per day, and in excess of forty (40)
   23 hours per week without receiving the proper overtime premium. The Defendant is in violation of
   24 Labor Code §*5 10 and 1194, and the relevant California Industrial Well'are Commission Order 4         -




   25 2001,ctseq.

   26 27.      Under Labor Code §1194, an employee is not fully compensated for the unpaid balance of

   27 their overtime compensation unless the employee is paid all unpaid compensation for the regular

   28 hours and overtime hours worked during an overtime shift.
                                                   -7-
                                                       MI'LAIN'I
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    I 28.      Defendant fails to pay Plaintiff and the Class proper wages due to Defendant's rounding
    2 mechanism. The mathematical result of these practices is that employees are underpaid their earned

    3 wages. Defendant's employees are not paid proper straight time or overtime compensation. In

    4 addition to, and independent from, Defendant's rounding mechanism, Plaintiff and the Class were
    5 required to keep their radios on them and remain "on call" at all times during their shift, even

    6 1 during time otherwise desigiated as a "break" The result of this policy is that Plaintiff and the
    7 Class were and are stilt on duty during these "breaks," yet are not paid for the thirty (30) minutes

    8 each day Defendant designates as a "meat break." As a result, Plaintiff and the Class are denied
    9 pay for this time.

   10 29.      Defendant, and each of them, consistently administered a corporate policy regarding

   11 staffing levels, duties, and responsibilities of Defendant's employees, which required that the
   12 entirety of the employees work overtime without proper premium overtime pay. Further, Plaintiff

   13 and the Class are entitled to restitution of these wages obtained by Defendant, and each of them.

   14 30.      This corporate policy and pattern of conduct is accomplished with the advance knowledge

   15 and designed intent not to Ray the employees at a premiupi rate for all overtime hours. Further,

   16 Plaintiff is entitled to restitution of these wages obtained by Defendant, and each of them.
   17 31.      Further, Plaintiff and the Class are entitled to restitution of all unpaid wages obtained by

   18 Defendant, and each of them. Plaintiff and the Class may seek restitution for all unpaid wages
   19 under California Business & Proftssions Code §17200, ci seq. C'Seetion 17200"). Any business act
   20 or practice that violates the Labor Code through a failure to pay wages is by definition an unfair
   21 business practice under §17200. Section 17200 provides an action to recover wages as a restitution,

   22 even if such recovery might be banS iibrought pursuant to the Labor Code, if the failure to pay
   23 constitutes a business practice.

   24. 32.     Plaintiff was and is employed and scheduled as a mailer of established company policy to

   25 work and in fact worked ass non-exempt employee in excess of eight (8) hours per day.

   26 33.      Pursuant to Labor Code §1198, it is unlawilil to employ persons for longer than the hours

   27 set by the IWC or under conditions prohibited by the applicable IWC \Vage Orders. IWC Wage

   28 Order No. 4, as amended, applies to Plaintiff.

                                                    COWLMWT
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                               VIOLATION OF MEAL PERIOD PROVISIONS

    2 34.      Defendant's improper meal policies arc in violation of California law including, but not

    3 limited to Labor Code §226.7, 512, and IWC Wage Order 4-2001. The Plaintiff and the Meal
    4 Break Class are entitled to a half hour meal period for every five (5) hours of his shift worked.
    5 Defendant violated the meal break provisions and did not provide Plaintiff and the Class with duty

    6 free meal periods for every five (5) hours of his shift worked. Plaintiff and the Class are entitled to
    7 one (1) hour of pay for each meal break violation at their regular rate of pay.
    8 35.      Defendant failed to provide, impeded and/or discouraged Plaintiff and the Class from taking

    9 timely meal breaks of not less than thirty (30) minutes as required by the Labor Code during the
   10 relevant period and/or failed to obtain legal waivers waiving the first or second meal period in a

   II shift in excess of 10 hours.

   12              FAILURE TO PERMIT AND AUTHORIZE REST PERIOD BREAKS

   13 36.      Plaintiff and the Class, during their employment by Defendant, including within the Class

   14 Period, were entitled to the benefits of Labor Code 226.7 and Order 4-2001 of the industrial
   15 Welfare Commission. Pursuant to Labor Code Section 226.7 and Wage Order 4 —2001, Plaintiff

   16 and the Class were entitled to separate rest periods of at least 10 minutes for each fourhour period
   17 of work or major fraction thereof, and one hour of additional pay for every shift a rest period was
   18 not provided in conformance with this obligation.

   19 37.      Plaintiff is informed and believes, and thereon alleges that Defendant consistently

  20 compelled Plaintiff and the Class, who were scheduled for shifts of eight (8) hours or more, to keep
   21 their radios on and be subject to recall during all times during their shift and were therefore denied

  22 any period during his shift where they were relieved of all duty.
  23
  24        FAtLURE TO PAY ALL WAGES J)UE TO iLLEGAL ROUNDING AND ILLEGAL

  25                                              DEDUCTIONS

  26 38.       Defendant has unlawthlly employed a rounding policy that disproportionately impacts
  27 employees, which results in lost wages for employees. Defendant has also unlawfully employed a

  28 policy of deducting thirty (30) minutes of pay from each employee's wages for "meal periods"
                                                        II
Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.25 Page 13 of 26




    I despite failing to provide any such duty-free period, which results in lost wages for employees.

    2 39.      The conduct of Defendant is inimical to the public welfare since it transgresses both civil

    3 and criminal statutes of this state designed to protect workers from exploitation.
    4 40.      Defendant's conduct in rounding Plaintiff and the Class' time and failing to pay all wages

    5 due was unlawfW and also unfair within the meaning of Business & Professions Code §17200
    6 because it was against established public policy and has been pursued to attain an unjustified

    7 monetary advantage for Defendant by creating personal disadvantage and hardship to its
    8 employees. As such, Defendant's business practices and acts have been oppressive and unfair. Said

    9 conduct was also fraudulent within the meaning of Business & Professions Code §17200 because it
   to was intended by Defendant to deceive employees, prospective employees and other members of the
   11 public into believing that employees were being paid properly for all hours worked, a deceit likely
   12 to be believed by such persons.

   13 41.      Plaintiff; on behalf of the class, seeks restitution and injunctivc relief for all the

   14 aforemcntioncd violations.

   15 42.      Defendants, and each of them, have engaged in unfair business practices in California by
   16 practicing, employing and utilizing the employment practices complained of herein. Defendant's

   17 use of such practices constitutes an unfair business practice, unfair competition, and provides an
   18 unfair advantage over Defendant's competitors. Plaintiff-, on behalf of the Class, seeks lull

   19 restitution of said monies, as necessary and according to proof, to restore any and all monies
  20 withheld and/or acquired by Defendant by means of the unfair business practices complained of

  21 herein. Plaintiff further seeks the appointment of a.reeciver, as necessary, to establish the total
  22 restitutionary relief due from Defendant. The restitution includes all wages withheld by Defendant

  23 as a result of the unfair business practices, including interest thereon. Absent a statutory provision

  24 specifically governing the type of claim at issue, the prejudgment interest rate is 10 percent.

  25 43.       Plaintiff is informed and believes, and thereon alleges that at all times herein mentioned,
  26 Defendant has engaged in unlawful, deceptive, and unfair business practices prohibited by

  27 California B&PC §17200, thereby depriving its employees of the minimum working condition,

  28 standards and conditions due to them tinder the California labor laws and lndusUial Welfare
                                                     -10-
                                                      COMPLAINT
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    1 Commission wage orders as specifically described herein. Plaintiff seeks an injunction preventing
    2 Defendant from continuing its business practice of improperly depriving its employees' overtime

    3 pay.

    4 44.      By and through its unfair, unlawful, and/or fraudulent business practices and acts described

    5 herein, Defendant has obtained valuable services from Plaintiff and has deprived Plaintiff and the

    6 Class of valuable rights and benefits guaranteed by law, all to their detriment.
    7 45.      Plaintiff, on behalf of the Class, is entitled to and does seek such relief as may be necessary

    8 to restore to them the money and property which Defendant has acquired, or of which. Plaintiff and
    9 the Class have been deprived by means of the herein described unfair, unlawful, and/or fraudulent

   10 business practices at all times in the future.

   ii 46.      Plaintiff is fi.irther entitled to and does seek a declaration that the above described business

   12 practices are unfair, unlawful, and/or fraudulent, and injunctive relief restraining Defendant from

   13 engaging in any of the herein described unfair, unlawful, and/or fraudulent business practices at all
   1.4 times in the future.

   15
   16                                    SECOND CAUSE OF ACTION

   17                         RECOVERY OF UNPAID WAGES & PENALTIES

   18                             (Labor Code §218. 226, 510,1194, and 1198)

   19 47.      Plaintiff re-alleges and incorporates by reference herein the allegatiouus of all preceding

   20 paragraphs as though fully set forth herein.

   21 1 48.    Plaintiff and the Class were and are employed and scheduled as a matter of established
   22 company policy to work and in fact worked as non-exempt employees in excess of eight (8) hours

   23 per day and/or in excess of forty (40) hours per week. Defendant employed and scheduled Plaintiff

   24 and the Class without providing overtime compensation for such excess hours worked in violation

   25 of Labor Code §*5 10, and 1194 and the relevant California Industrial Welfare Conunission (1VC)
   26 orders, including but not limited to, daily, weekly, and seventh day premium overtime payments.

   27 Labor Code § 204 establishes the fundamental right of all employees in the state of California to be

   28 paid the proper amount of wages in a timely fashion for their work, including overtime. The
                                                     -11-
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    1 California overtime requirement and wage requirement are non-waivable rights pursuant to Labor

    2 Code *219.

    3 49.      Pursuant to Labor Code §§ 218 and 1194(a), Plaintiff may bring a civil action for overtime

    4 wages directly against the employer without first filing a claim with the Division of Labor
    5 Standards Enforcement (hereinafter c:DLSE:) and may recover such wages, together with interest

    6 thereon, penalties, attorney's fees and costs.

    7 50.      At all times relevant hereto, Defendant has failed to pay Plaintiff's and the Class' wages

    8 when due as required by Labor Code §204.

    9 51.      Pursuant to Labor Code §1198, it is trnlawfiul to employ persoils for longer than the hours

   10 set by the IWC or under conditions prohibited by the applicable IWC Wage Orders. IWC Wage
   1.1. Order No. 4, as amended, applies to Plaintiff.

  12 52.       At all times relevant hereto, Defendant has treated Plaintiff and the Class as non-exempt
  13 employees. Despite this classification, Defendant has williuilly violated the Labor Code with

   14 respect to meeting the requirements of paying all wages earned, including minimum wages, straight
  15 time pay, overtime, and remuneration when calculating the non-exempt employees' regular rate of

  16 pay, as herein before alleged.
  17 53.       Labor Code §204 establishes the fundamental right of all employees in the State of
  18 California to be paid wages in a timely fashion for their work.

  19 54.       Plaintiff is informed and believes, and thereon alleges, that Defendant consistently

  20 administered a corporate policy regarding both staffing lcvels and duties and responsibilities of the

  21 Plaintiff to work overtime without proper premium pay. This included a uniform corporate policy
  22 and practice of requiring Plaintiff to work in excess of eight (8) hours a day without paying

  23 premium overtime. This corporate policy and pattern of conduct was/is accomplished with the
  24 ddvance knowledge and design of all Defendants herein. Thus, Plaintiff and the Class regularly and

  25 customarily performed overtime work. Accordingly, Plaintiff and the Class are entitled to overtime
  26 compensation under California law. Further, Defendant disseminated false information throughout

  27 1)efcndant's facilities and among the employees reciting that all non-exempt employees would

  28 receive premium overtime pay.
                                                         -12-
                                                    COMJ'LAINF
Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.28 Page 16 of 26




        55.     Plaintiff and the Class were and are employed and scheduled as a matter of established

    2 company policy to work and in fact worked as non-exempt employees in excess of eight (8) hours

    3 per day without overtime. Pursuant to Labor Code §1198, it is unlawful to employ persons for
    4 longer than the hours set by the IWC or under conditions prohibited by the applicable IWC Wage
    5 Orders.

    6 56.      Likewise, Defendant has a pattern, practice and uniform administration of corporate policy

    7 1 regarding failure to comply with the required provisioM of Labor Code §226.7, in failing to pay

    8 Plaintiff and the Class for missed rest and meal periods one hour's wage at the em ployce's regular
    9 11 rate of pay. Accordingly, Plaintiff; on behalf of the Class, seeks all underpaid wages, wages that
   10 Defendant has failed to pay which are owing, including interest thereon, willful penalties,

   11 attorneys' fees, and costs of suit according to the mandate of Labor Code §1194, et seq.
   12

  13                                        THIRD CAUSE OF ACTION

  14                 FAILURE TO PAY ALL WAGES DUE TO ILLEGAL ROUNDING

  15                              (Labor Code §218. 226, 510,1194, and 1198)

  16 57.       Plaintiff re-alleges and incorporates by reibrence herein the allegations of all preceding
  17 paragraphs as though fully set forth herein.

  18 58.       Labor Code §510(a) states in pertinent part: "Any work in excess of eight hours in one

  19 workday and any work in excess of 40 hours in any one workweek.., shall be compensated at the
  20 rate of no less than one and one-half times the regular rate of pay for any employee."

  21 59.       California Code of Regulationsjitle S § 11000(2) and the TWC Wage Orders §4(A) state.
  22 "Every employer shall pay to each employee... wages not less than eight dollars ($8.00) per hour
  23 for all hours worked, effective January 1, 2008....

  24 60.       Labor Code §*1194(a) states: "Notwithstanding any a&eement to work for a lesser wage,
  25 any employee receiving less than the legal minimum wage or the legal overtime compensation

  26 applicable to the employee is entitled to recover in a civil action the unpaid balance of the hill

  27 amount of this minimum wage or overtime compensation, including intcrest thereon, reasonable

  28 attorney's fees, and costs of suit."
                                                        -13-
                                                    COMPLAINt
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    1 61.      Further, pursuant to Labor Code §1197, payment of less than the minimum wage fixed by
    2 the Labor Commission is unlawful.

    3 62.      Pursuant to Labor Code §1198, it is unlawful to employ persons for longer than the hours

    4 1 set by the Industrial Welfare Commission or under conditions prohibited by the IWC Wage

    5 Order(A                                                                                              -




    6 63.      Defendant, as a matter of established company policy and procedure, consistently:

    7                  a. Administered a uni form company policy and practices as to the rounding

    8                      policies regarding the Plaintiff and the Class; and

    9                  b. Rounded the actual time worked and recoitled by the Plaintiff and the Class,

   10                     usually down, so that during the course of their employment, Plaintiff and the

   11                      Class were paid far less than they would been paid had they been paid for actual

   12                     recorded time rather than "munded" time.

   13 64.      Because Defendant required Plaintiff and the Class to remain under Defendant's control

   14 without paying therefore, this resulted in Plaintiff and the Class earning less than the legal

   15 minimum wage in the State of California or the full amount of overtime compensation for overtime
   16 hours worked.

   17 65.      Defendant's pauern, practice and uniform administration of corporate policy regarding

   18 illegal employee compensation as described herein is unlawful and creates an entitlement, pursuant

  19 to Labor Code §218, to recovery by Plaintiff on behalf of the Class, in a civil action, of the unpaid
  20 balance of the full amount of wages owing, calculated at the appropriate rate.
  21 66.       Pursuant to Labor Code §218.6, Labor Code §1194, and CC §3287, Plaintiff seeks recovery

  22 of prc-judgmcnt interest on all amounts recovered herein.
  23 67.       Pursuant to Labor Code §218.5 and/or Labor Code §1194, Plaintiff requests that the Court
  24 award liquidated damages for failing to pay minimum wages for all time worked, and award

  25 reasonable attorney's fees and costs incurred by them in this action.

  26 1ff

  27 11I

  28 III
                                                        -14-
                                                    COMPLAINT
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    1                                      FOURTH CAUS.E OF ACTION

    2                                FAILURE TO PROVIDE MEAL BREAKS

    3                                     (Labor Code §226.7 & 512,.et seq.)

    4 68.         Plaintiff ic-alleges and incorporates by reference herein the allegations of all preceding

    5 paragraphs as though fully set forth herein.

    6 69.         Labor Code §226.7 rcquircs an employer to pay an additional hour of compensation for

    7 each meal period the employer fails to provide. Plaintiff alleges that Defendant failed to provide

    8 legally compliant meals in addition to impeding, discouraging and/or dissuading employees from

    9 taking legalLy compliant meal periods. Employees arc entitled to a meal period of at least thirty

   10 (30) minutes per five (5) hour work period. Plaintiff and the Meal Break Class consistently worked

   11 over five (5) hour shifts without meal periods due to Defendant's policy odiscouraging,

   12 dissuading and/or impeding Plaintiff and the Meal Break Class from taking meal. periods. Pursuant

   13 to the Code, Plaintiff and the Meal Break Class are entitled to a meal period of not less than thirty

   14 (30) minutes prior to exceeding five (5) hours or employment, and a second meal period for hours

   15 worked over ten (10) in a day. Further, Plaintiff alleges that Defendant fails to provide second meal

   16 periods for shifts worked in excess of 12 hours.

   17 70.         Defendant failed to provide, impeded and/or discouraged Plaintiff and the Class from

   18 taking timely meal breaks of not less than thirty (30) minutes as required by the Labor Code during

   19 the relevant period and/or failed to obtain legal waivers waiving the right to a meal period.

   20 71.         Pursuant to Labor Code §226.7! Plaintiffis entitled to damages in an amount equal to one

   21 (1) hour of wages at the regular rate of compensation per missed meal break, in a sum to be proven

   22 at trial.

   23
   24                                        FJ1"Tli CAUSE OF ACTiON

   25                                FAI,l.U.l&E TO PRO VI l)E REST PERIODS

   26                 .                       (Labor Code §226.7 & 512)

   27 72.         Plaintiff re-alleges and incorporates by reIèrence herein the allegations of all preceding

   28 paragraphs as though fully set forth herein.
                                                           - 15-


                                                       COMPLAiNT
Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.31 Page 19 of 26




    1 73.       Labor Code §226.7 provides that employers authorize and permit all employees to take rest
    2 periods at the rate of ten (10) minutes rest time per four (4) work hours or major fraction thereof.

    3 74.       Labor Code §226.7(b) provides that if an employer fails to provide and employee rest

    4 periods in accordance with this section, the employer shall pay the employee one (1) hour of pay at

    5    the employee's regular rate of compensation for each workday that the rest period is nor provided.

    6 75.       Defendant failed and/or refused to implement a relief system by which Plaintiff and the
    7 Class could receive rest breaks and/or work free rest breaks for every four hours worked, br major

    8 fraction thereof. Furthermore, due to Defendant's requirement that Plaintiff and the Class carry

    9 radios and remain on call at all times, Plaintiff and the Rest Break Class did not receive their rest
   10 breaks. By and through its actions, Defendant intentionally and improperly denied rest periods to
   liii the Plaintiff and the Class in violation of Labor Code §226.7 and 512.

   12 76.       At all times relevant hereto, the Plaintiff and the Class have worked more than four (4)
   13 hours inaworkday.

   14 77.       By virtue of the Defendant's uflawthl failure to provide rest periods to Plaintiff and the
   15 Class, Plaintiff and the Class have suffered, and will continue to suffer, damages, in amounts which
   16 are presently unknown, which will be ascertained according to proof at trial.

  .17 78.       Plaintiff, on behalf of the Class requests recovery of rest period compensation pursuant to

   is Labor Code §226.7, which they are owed beginning four (4) years before the filing of this action

  19 through the date ofjudgmcnt as the assessment of any statutory penalties against the Defendant,
  20 and each of them, in a sum as provided by the Labor Code and/or any other statute.

  21

  22                                       SIXTH CAUSE OF ACTION

  23             KAllORE TO PRov:ln:l; ACCIJRATE ITEMIZED WAGE STATEMENTS

  24                                            (Labor Code § 226)

  25 79.        Plaintiff re-alleges and incorporates by reference herein the allegations of all preceding

  26 paragraphs as though hilly set forth herein.

  27 80.        Labor Code §226 states:

  28    'II
                                                         -16-
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                         "An employer, semimonthly or at the time of each payment of wages, shall
    I          furnish to his or her employee, either as a detachable part of the check, draft, or
    2          voucher paying the employee's wages, or separately if wages are paid by personal
               check or cash, an aècurate itemized statement in writing showing (I) gross wages
    3          earned, (2) total hours worked by the employee, except as provided in subdivision
               (i). (3) the number of pidce-rate units earned and any applicable piece rate if the
    4          cmployce is paid on a piece-rate basis, (4) all deductions, provided that all
               deductions made on written orders of the employee may be aggregated and shown
               as one item..
    6                    Subsection (e) provides: "An employee suftèring injury as a result of a
               knowing and intentional failure by an employer to comply with subdivision (a) is
    7          entitled to recover the greater of all actual damages or fifty dollars ($50) for the
               initial pay period in which a violation occurs and one hundred dollars ($100) per
    8          employee for each violation in a subsequent pay period, not to exceed an aggregate
               penalty of four thousand dollars ($4,000), and is entitled to an award of costs and
    9
               reasonable attorney's fees."
   10

   11 81.      Defendant knowingly and intentionally failed to provide Plaintiff and the Pay Stub Class

   12 with timely and accurate wage statements showing gross wages earned, total hours worked, all
   13 deductions made, net wages earned, and all applicable hourly rates in effect during each pay period

   14 and the corresponding 1)umber of hours worked at each hourly rate.
   15 82.      Defendant thus required Plaintiff and the Pay Stub Class, to work under conditions
   16 prohibited by order of the Industrial Welthre Commission, in violation of those orders.
   17 83.      Plaintiff and the Pay Stub Class suffered injury as a result of Defendant's knowing and
  .18 intentional failure to provide Plaintiff and the Class with the wage statements required by law.
   19 84.      Based on Defendant's conduct as alleged herein, Defendant is liable for actual damages,
   20 statutory damages and/or statutory damages and/or statutory penalties pursuant to California Labor

   21 Code §226, including attorney's fees and costs.
   22
   23                                        PRAYER FOR RFJTJWF
   24       1. That the Court determine this action may be maintained as a class action; appoint Plaintiff
   25          as the Class Representative, and Appoint Counsel for Plaintiffs as Class Counsel;
   26          As to the First Cause of Action:
   27       2. For an order preliminarily and permanently enjoining Defendant from engaging in the
   28
                                                        -17-
                                                    COMPLAINT
    Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.33 Page 21 of 26




        1         practices challenged herein;

        2    3. An order for liiil restitution of all monies, as necessary and according to proof, to rcstore

        3         any and all monies withheld by the Defendant by means of the unfair practice complained

       .4         of herein. Plaintiff seeks the appointment of a receiver, as necessary. The restitution

        5         includes all monies retained as wages, as defined in Labor Code ff200, et seq., 51.0 and

        6         1194, and interest, and attorneys' fees as a result of the unfair business practices or retained

        7         in violation of Labor Code §1198 and IWC Wage Order 4-2001;

        8    4. For an order finding and declaring that Defendant's acts and practices as challenged herein

        9         are unlawibi, and unfair and/or Fraudulent;

       10•   5. For an accounting, under administration of Plaintiff and subject to Court Review, to

       II         determine the amount to be returned by Defendant and the amounts to be refunded to Class

       12         members who are or were not paid all their wages due to Defendant's unfair business

       13         practices;

       14    6. For the creation of an administrative process wherein each Class member and Plaintiff

       15         receives his or her back wages.

       16    7. For an order requiring Defendant to make Thil restitution and payment pursuant to 13&PC

       17         sections 17200,      q. for unfair business practices that violate Labor Code S4200. et seq.,

       18         510 and 1194:

       19    8. For reasonable attonicys' fees under Code of Civil Procedure § 1021.5, Labor Code Section

       20         1194 and Labor Code Section 218.5, as well as the common fbnd theory of recovery, and
C
       21         all other appropriate declaratory and equitable relief;

       22    9. For prc-judgmcnt interest to the extent permitted by law and the California Constitution;

       23

       24         As to the Second Cause of Action:

       25    1.0. For damages according to proof, as set forth in Labor Codes §204, 218, 226, 510, 1194,

       26         and 1198 et seq., (and the applicable California Industrial Welfare Commission wage

       27         orders) regarding wages due and owing;

       28    II. Due unpaid straight time wages pursuant to Labor Code §1194;
              -                                        -18-
                                                       COMPLAINT
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    1    12. For pre-judgment interest as allowed by Labor Code § 1194 and California Civil Code

    2        §3287(b), and for reasonable attorneys' fecs;

    3

    4        As to the Third Cause of Action:

    5    13. For recovery of the unpaid balance of the fbil amount of unpaid minimum wage or overtime

    6    .   and doubic time compensation, per Labor Code §204. 218, 510, 1194, 1194.2, 1197, and

    7        1198 due and owing, according to proof

    8    14. For liquidated damages in an amount equal to the wages unlawfi.illy unpaid and interest

    9        thereon for the uneompe.nsatcd non-overtime hours of work, as authorized by Labor Code

  10         §1194.2(a);

  11     15. For pre-judgment interest as allowed by Labor Code §218.6, Labor Code § 1194(a) and

   12        CC3287;

   13    16. For an award of reasonable attorneys' lees and costs pursuant to Labor Code §218.5, 1194,

  14         the common fund theory of recovery, the private attorney general theory, and/or Labor

  15         Code lI04(a);

  16
  17    As to the Fourth Cause of Action:

   18   17. One (1) hour of pay at the regular rate of compensation for each workday that a meal break

  19         was not provided, impeded, discouraged and/or dissuaded;

  20

  21    As to the Fifth Cause of Action:

  22    18. One (1) hour of pay at the regular rate of compensation for each workday that a rest break

  23         was not provided, impeded, discouraged and/or dissuaded;
  24

  25    As to the Sixth Cause of Action:

  26    19. For recovery as authorized by Labor Code §226(e);

  27    20. For an award of costs and reasonable attorneys' fees pursuant to Labor Code §226(c) and/or

  28         §226(g);
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    2     As to All Causes of Action:
    3    21. For reasonable attorneys' fees and costs incurred;
    4    22. For such other and further relief as this Court may deem just and proper.
    5

    6

    7 Date: August 1, 2018                                   FRONTIER LAW CENTER
    8
   .9
   10                                                           odore
                                                             Attorneyfor
   11                                                        Josue Mendoza, on behalf of himself and all
                                                             others similarly situated, and the general
   12                                                        public

   '3

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                                                    COMPLAINT
Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.36 Page 24 of 26


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     Frontier Law Center      -

     23901 Calabasas Road Suite 2074                                                                          ELECT1101IICALLY FILED
     Calahasas, California I302                                                                                 Superior Court of California.
          TELEPWOHENa:  (818)914-3433                       ccr:    (8 18) 914-3433                                County of San Diego
                        Plaintiff Josue Mendoza
     flOPslEY FOR marzoj:
     IPERIOR COURT OF CALIFORNIA. COUNTY OF San I                                                                   08101/2018 at 11:46:43 ttvl
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                                                                                                          JuE:
         demanded                demanded Is              fllod with first appearance by defendant                      Judge Gregory W Pollack
         exceeds $25.000)        $25.000 or Is                 (Cal. Rules of Court. rule 3.4021            CEPT:


     Check one box below for the case type that
     Auto Tort                                  Contract                                           Provisionally Complox Civil Litigation
     El Auto (22)                               El Breach of contract)Warranty (06)                (Cal. Rules of Court, rules 3.400-3.403)
           Uninsured motorist (40)              El Rule 3.740 collections (09)                     El Antitrustfrrade regulation (03)
     Other PIIPDIWD (Personal injurylProporty   El Other collecllons (09)                          El Construction defect (10)
     DaunageiWrongtui Death) Tort               [J            cOverage (18)                        El Mass tort (40)
     [JAsbestos (04)                            El Other contract (37)                             El Securities litigation (28)
     [1Product liability (24)                   Real Proporty                                      El Envlronmenlaltroxlc tort (30)
     [JMedical molpractice (45)                        El Eminent domainfinverse                   C Insurance    coverage claims arising from the
     El Other PIIPDMD (23)                                condemnatIon (14)                           above listed provisIonally complex case
      Non-PiIPDIWD (Other) Tort                        C Wong*il evictIon (33)                           types (41)
     [J    Business tort/unfair business practIce (07) El Other real property (20)                 Enforcement of Judgment
     ii    Civil rIghts (08)                           Unlawful Dotalnor                                 Enforcement of Judgment (20)
     El    Defamatico (13)                             C      CommercIal (31)                      MIscellaneous Civil Complaint
     El    Fraud (16)                                  El    Residential (32)                      L.J RlCO(27)
           Intellectual property (10)                  []    Drugs (38)                            C OIlier complaint (not specified above) (42)
     C     Professional negligence (25)                Judicial Rovlow                             Miscellaneous Civil Petition
     El    Other non-PIIPDM'D tort (35)                       Assel rerfellum (05)
                                                                                                   El Partnership and corporate governance (21)
                                                       C     Petition re: arbitration award (Ii)
                                                                                                   C Other petition (not specified above) (43)
           Wronglul termination (36)                   El     wit of mandate (02)

2. This case LU I is       t.....J is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
     El Large number of separately represented parties d. ElLarge number of witnesses
     El Extensive motion practice raising difficult or novel 0. ElCoordination with related actions pending in one or more courts
      -
            issues that will be time-consuming to resolve                in other counties, states, or countries, or in a federal court
     L.J Substantial amount of documentary evidence              f. ElSubstantial postjudgment judicial supervision
3. Remedies sought (check all that app,): a.[7J monetary b. t'nonmonetary declaratory or injunctive relief                              C.   Elpunitive
4.  Number of causes of action (specify): 6
5. This case El is El is not a class action suit
B. If there are any known related cases, file and serve a notice of related case. (You may use fonii CM-0I5.
                            8
lbeodorAUfirig

 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except smatl claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical puiposes only.

                                                        CIVIL CASE COVER SHEET
   Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.37 Page 25 of 26

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET AODRESS:     330W &oagtifl
 MAIUNG ADDRESS    330W Bmadway
 CITY AND ZIPCOOE: San Diego, CA 92101-3827
 BRANCH NAME:      Cenimi
 TELEPH4E NUMBER: (619)4507071

 PLAINTIFF(S)! PETITIONER(S):            Josue Mendoza

 DEFENDANT(S)! RESPONDENT(S):            Management and Training Corporation


 MENDOZA VS MANAGEMENT AND TRAINING CORPORATION (E-FILEJ
                                                                                            CASE NUMBER:
 NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT
 CONFERENCE on MANDATORY eFILE CASE                                                          37-2018-00038572CU..OE-CTL


CASE ASSIGNMENT
Judge: Gregory W Pollack                                                              Department: C-71


COMPLAINT/PETITION FILED: 08/01/2018

TYPE OF HEARING SCHEDULED                          DATE                TIME         DEPT               JUDGE
Civil Case Management Conference                   01/04/2019          01:30 pm     C-71               Gregory W Pollack


A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
at least 15 days prior to the initial case management conference. (San Diego Local Rules, Division It. CRC Rule 3.725).
All counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
prepared to participate effectively in the hearing, including discussions of ADR options.




IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
COMPLAINT (AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR) (SDSC FORM #CIV-359), AND OTHER
DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.
ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.
TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship. conservatorship, juvenile, parking citation
       appeals, and family law proceedings.              -




COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.
DEFENDANTS APPEARANCE: Defendant must generally appear within 30 days of service of the Complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local Rule 2.1.6)
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in
       the action.
MANDATORY eFILE: Case assigned to mandatory eFile program per CRC 3.400-3.403 and SDSC Rule 2.4.11. All documents must
      be eFiled at w.onelegal.com. Refer to General Order in re procedures regarding electronically imaged court records,
      electronic filing, and access to electronic court records in civil and probate cases or guidelines and procedures.
COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www.sdcourt.ca.gov.
                                                                                        TO CONSIDER UTILIZING VARIOUS
                                                                                        D THE CASE MANAGEMENT CONFERENCE.
                                                                                        TE RESOLUTION (SDSC FORM #CIV-359).



SDSC CIV-721 (Rev. 01-17)                                                                                                       Page: I
                                                     NOTICE OF CASE ASSIGNMENT
   Case 3:18-cv-02181-DMS-BLM Document 1-2 Filed 09/24/18 PageID.38 Page 26 of 26

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STREET ADDRESS:        330 West Broadway
  MAILING AOOREsS:       330 West Broadway
  CITY. STATE. a ZIP CODE: San Diego, CA 92101-3827
  BRANCH NAME:           Central


 I PLAINTIFF(S): Josue Mendoza                                                                               I
 I DEFENDANT(S): Management and Training Corporation                                                         I
  SHORT TITLE: MENDOZA VS MANAGEMENT AND TRAINING CORPORATION LE-FILEl

                          STIPULATION TO USE ALTERNATIVE                                                         CASE NUMBER:
                              DISPUTE RESOLUTION (ADR)                                                           37-2018-00038572-CU-OE-CTL
                                                                                                             I
  Judge: Gregory W Pollack                                                                        Department: C-il

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.

     U     Mediation (court-connected)                                 U   Non-binding private arbitration

     o     Mediation (private)                                         U   Binding private arbitration

     o     Voluntary settlement conference (private)                   U   Non-binding iudicial arbitration (discovery until 15 days before trial)

     o     Neutral evaluation (private)                                U   Non-binding judicial arbitration (discovery until 30 days before trial)

     U     Other (specify e.g., private mini-trial, private judge, etc):




  It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral (for court Civil Mediation Program and arbitration only):


  Date:                                                                                   Date:




  Name of Plaintiff                                                                       Name of Defendant




  Signature                                                                               Signature



  Name of Plaintiff's Attorney                                                            Name of Defendant's Attorney




  Signature                                                                               Signature
  If there are more parties and/or attorneys, please attach additienal completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court. rule 3.1385. Upon notifrcation of the settlement,
  the court vaIl place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT ISSO ORDERED.

  Dated: 0810212018                                                                                       JUDGE OF THE SUPERIOR COURT
sest CIV459(Rev 12-10)
                                   STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
